Case 1:19-cv-10092-DJC Document 7 Filed 03/26/19 Page 1of5

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

 

 

JOHN MARSHALL MANTEL, 5 Docket No: 19-10092
Plaintiff }
}
Vv. }
}
INTERNET ROI, INC. }
Defendant }
}
ANSWER TO COMPLAINT

 

AND AFFIRMATIVE DEFENSES
Defendant, Internet ROI, Inc., hereby answers the Plaintiff's Complaint. All allegations
not specifically admitted should be deemed denied.
ANSWER
NATURE OF THE ACTION
1. Defendant admits that Plaintiff purports to assert claims under the Copyright Act and the
Digital Millennium Copyright Act, but denies that Plaintiff is entitled to any such relief.
Otherwise deny.
JURISDICTION AND VENUE
2. This paragraph contains a legal conclusion for which no response is required.
3. This paragraph contains a legal conclusion for which no response is required.
4. This paragraph contains a legal conclusion for which no response is required.
PARTIES
5. Defendant lacks sufficient knowledge to form a belief as to the truth of the allegation and
calls upon Plaintiff to prove the same.

6. Admit.
10.

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Case 1:19-cv-10092-DJC Document 7 Filed 03/26/19 Page 2 of 5

STATEMENT OF FACTS

 

A. Background and Plaintiff’s Ownership of the Photograph

Defendant lacks sufficient knowledge to form a belief as to the truth of the allegation and
calls upon Plaintiff to prove the same.

Defendant lacks sufficient knowledge to form a belief as to the truth of the allegation and
calls upon Plaintiff to prove the same.

Defendant lacks sufficient knowledge to form a belief as to the truth of the allegation and
calls upon Plaintiff to prove the same.

Defendant lacks sufficient knowledge to form a belief as to the truth of the allegation and
calls upon Plaintiff to prove the same.

B. Defendant’s Infringing Activities

Defendant admits an article and video entitled “She Wouldn’t Sign A Prenup So Her
Fiancee Dumped Her, But What She Did Next...” appeared on Defendant’s website. The

contents of the article and video speak for themselves. Otherwise deny.

. Defendant admits that it did not license the Photograph from Plaintiff and affirmatively

alleges that no such license or permission or consent was required. Otherwise deny.

FIRST CLAIM FOR RELIEF

 

COPYRIGHT INFRINGEMENT AGAINST DEFENDANT
(17 U.S.C. §§ 106, 501)
Defendant incorporates by reference its responses to Paragraphs 1 — 12 of the Complaint.
Deny.
Deny.
Deny.
Deny.

Deny.
Case 1:19-cv-10092-DJC Document 7 Filed 03/26/19 Page 3 of 5

19. Deny.
SECOND CLAIM FOR RELIEF
INTEGRITY OF COPYRIGHT MANAGEMENT INFORMATION AGAINST DEFENDANT
(17 U.S.C. §1202)

20. Defendant incorporates by reference its responses to Paragraphs 1 — 19 of the Complaint.

21. Deny.

22. Deny.

23. Deny.

24. Deny.

25. Deny.

26. Deny.

27. Deny.

ANSWER TO PRAYER FOR RELIEF
Plaintiff is not entitled to any of the relief sought in Plaintiff's Prayer for Relief.
AFFIRMATIVE DEFENSES
Without altering the burden of proof, Defendant asserts the defenses set forth below. These
defenses are asserted based upon Defendant’s investigation of the asserted allegations, which is
not yet complete and will remain so pending discovery in this matter. Defendants therefore reserve
all affirmative defenses under Fed. R. Civ. P. 8(c), and any other defense at law or equity that may
now exist or in the future be available based on discovery and further investigation.
FIRST AFFIRMATIVE DEFENSE
(Failure to State a Claim)

1. Plaintiff's claim fails to state a claim upon which relief may be granted.
Case 1:19-cv-10092-DJC Document 7 Filed 03/26/19 Page 4of5

SECOND AFFIRMATIVE DEFENSE
(Fair Use)
2. Any use by Defendant of any copyrightable material owned by Plaintiff was a
fair use of such material.
THIRD AFFIRMATIVE DEFENSE
(Standing)
3. Plaintiff does not own the material that is the subject of this action or otherwise lacks standing
to bring its claim.
FOURTH AFFIRMATIVE DEFENSE
(Estoppel/Unclean Hands)
4. Plaintiffs claims are barred by the doctrine of estoppel and unclean hands.
FIFTH AFFIRMATIVE DEFENSE
(Justification)
5. Defendant’s actions were justified and/or taken in good faith and were not willful, intentional
or purposeful.
SIXTH AFFIRMATIVE DEFENSE
(Lack of Requisite Intent or Knowledge)
6. Defendant’s actions were undertaken without the requisite intent or knowledge

required under 17 U.S.C. § 1202 et. seq.

WHEREFORE, Defendant respectfully requests that the Court enter judgment against Plaintiff:
A. Dismissing Plaintiff's Complaint in its entirety with prejudice;
B. Award Defendant its reasonable costs and attorneys’ fees; and

C. Award Defendant such other and further relief as the Court deems just and proper.
Case 1:19-cv-10092-DJC Document 7 Filed 03/26/19 Page 5of5

Dated: March 26, 2019.

Respectfully submitted,
Internet ROI, Inc.,
By its attorneys,

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